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8                               UNITED STATES DISTRICT COURT
9                               EASTERN DISTRICT OF CALIFORNIA
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11    TRAVIS SHANLEY,                                     2:23-cv-02608-MCE-JDP
                                                          and related cases
12                 Plaintiff,                             2:23-cv-02586-MCE-JDP
            v.                                            2:24-cv-00526-MCE-JDP
13
                                                          2:24-cv-00953-MCE-JDP
14    TRACY LOGISTICS LLC, et al.,                        2:24-cv-00963-MCE-JDP
                                                          2:24-cv-01011-DAD-AC
15              Defendants.
      ___________________________________/
16                                                        2:24-cv-02228-DJC-AC
      TENIAH TERCERO,
17
                   Plaintiff,
18          v.                                            RELATED CASE ORDER

19    C&S WHOLESALE GROCERS, LLC, et al.,
20              Defendants.
21    ___________________________________/

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23          An examination of the above-entitled civil actions reveals that these actions are

24   related within the meaning of Local Rule 123(a) (E.D. Cal. 1997). The actions involve

25   the same defendant(s) and are based on the same or similar claims, the same property

26   transaction or event, similar questions of fact and the same questions of law and would

27   therefore entail a substantial duplication of labor if heard by different judges.

28   Accordingly, the assignment of the matters to the same judge is likely to effect a
                                                    1
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 1   substantial savings of judicial effort and is also likely to be convenient for the parties.
 2          The parties should be aware that relating the cases under Local Rule 123 merely
 3   has the result that both actions are assigned to the same judge; no consolidation of the
 4   action is effected. Under the regular practice of this court, related cases are generally
 5   assigned to the district judge and magistrate judge to whom the first filed action was
 6   assigned.
 7          IT IS THEREFORE ORDERED that the action denominated 2:24-cv-02228-DJC-
 8   AC, Teniah Tercero v. C&S Logistics of Sacramento/Tracy LLC, et al., is reassigned to
 9   Senior District Judge Morrison C. England, Jr. and to Magistrate Judge Jeremy D.
10   Peterson for all further proceedings, and any dates currently set in this reassigned case
11   only are hereby VACATED. The caption on documents filed in the reassigned case shall
12   be shown as 2:24-cv-02228-MCE-JDP.
13          IT IS FURTHER ORDERED that the Clerk of the Court make appropriate
14   adjustment in the assignment of civil cases to compensate for these reassignments.
15          IT IS SO ORDERED.
16   Dated: September 22, 2024
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